                      UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS

JIM PEARSON                                                  )
                                                             )   CASE# 1:18-cv-005671:18-
cv-00567                                                     )
                      Plaintiff,                             )
                                                             )
               v.                                            )
                                                             )
VILLAGE OF BROADVIEW, MAYOR SHERMAN                          )
C. JONES, BUILDING COMMISIONER, DAVID                        )
UPSHAW, AND THE VILLAGE BOARD OF                             )
TRUSTEES COLLECTIVELY AS AGENTS                              )
                                                             )
                      Defendants.                            )

DISCLOSURES OF PLAINTIFF JIM PEARSON PURSUANT TO FED. R. CIV. P. 26(e)

       Plaintiff Jim Pearson submits the following disclosures pursuant to their obligations under

Fed. R. Civ. P. 26(e) and reserve the right to supplement these disclosures as further information

becomes available or as otherwise required pursuant to rule or the order of this Court.

A. The names, address and telephone number of each individual likely to have discoverable

   information that the disclosing party may use to support its claims or defenses, unless

   solely for impeachment, identifying the subjects of the information.

                                                                 Subject Information
          Name and Contact Information

      Jim Pearson                                  Jim Pearsons’ personal knowledge of the facts
      c/o Don Perry Esq.                           alleged in the Complaint, including, but not
                                                   limited to actual damages suffered.
      The Perry Law Office
      1200 Ravinia Place
      Orland Park, IL 60462
      Phone:(708) 675-7119
      dperrylaw@gmail.com
         Steve Stone                                 Steve Stones’ personal knowledge of the
         Transwestern                                Letter of Intent to purchase the subject
         5600 N. River Rd. Suite 150                 property tendered on September 10, 2015, and
         Rosemont, IL 60018                          his knowledge of the attempted solicitation of
         (847) 588-5650                              a $50,000 bribe.
         Steve stone@transwestern.com


             Plaintiff reserves the right to supplement this list as any further information becomes

      known or otherwise available.

B. A copy of, or description by category and location of all documents, data compilation, and

   tangible things that are in the possession, custody or control of the party and that the

   disclosing party may use to support its claims or defenses, unless solely for impeachment.

          Plaintiff will produce the following documents:

             1. Copies of all communications between the Plaintiff and the Defendants regarding

                 his 6b Classification renewal application, tendered to the Defendants on or about

                 September 19, 2014.

             2. Copies of all communications between the Plaintiff and parties associated with the

                 Letter of Intent tendered on September 10, 2015.

   C. Itemization of Damages.

             Plaintiff seeks actual Damages suffered as a result of the Defendants conduct, and

      Punitive Damages.

            Damages to date include,
                 1.     The Plaintiff’s actual damages of $400,000 due to the conduct of the
                        Defendants regarding his 6b Classification renewal application.

                 2.     Actual damages in an amount yet to be determined, including, but not
                        limited to:

                        a. Legal expenses arising from Defendant’s conduct.
                        Respectfully Submitted
Don Perry               /s/ Don Perry________
Attorney at Law
1200 Ravinia Place.
Orland Park, IL 60462
(708) 675-7119
dperrylaw@gmail.com
